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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Caitlyn Vann
                              Plaintiff,
v.                                                   Case No.: 1:15−cv−07792
                                                     Honorable Gary Feinerman
DePaul University
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 12, 2015:


       MINUTE entry before the Honorable Gary Feinerman: Status/Motion hearing
held. Defendant's motion to dismiss [11] is entered and continued. Plaintiff's response due
by 12/4/2015; Defendant's reply due by 12/18/2015. Rule 26(a)(1) disclosures shall be
served by 12/7/2015. Initial written discovery request shall be served by 12/18/2015. Fact
discovery shall be completed by 5/2/2016. Dispositive motions shall be filed by 6/2/2016.
Motions to add new parties or amend the pleadings shall be filed by 3/1/2016. Status
hearing set for 11/30/15 at 9:00 a.m. Mailed notice (ao,)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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